                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI


                                                 ) Case No.: 6:16-cv-03392-DPR
KEVIN WEEKS,                                     )
               Plaintiff,                        )
                                                 )
       vs.                                       ) NOTICE OF SETTLEMENT
                                                 )
                                                 )
DEBT RECOVERY SOLUTIONS, LLC,                    )
               Defendant.                        )
                                                 )


                                  NOTICE OF SETTLEMENT

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached a

settlement. The Plaintiff anticipates filing a notice of voluntary dismissal of this action with

prejudice pursuant to FED. R. CIV. P. 41(a) within 90 days. The Plaintiff requests that the Court

clear the calendar in the interim pending full performance on the settlement terms and subsequent

filing of the aforementioned dismissal.


Dated this 29th day of November 2016

                                              Respectfully Submitted,


                                              _s/          ___________
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